 

Case 19-16949 Doc5 Filed 05/22/19 Page 1 of 2

Fill in this information to identify your case:

Debtor 1 REGINALD LEE, lil

First Name

 

Middle Name Last Name

Debtor 2
(Spouse if, filing)

 

First Name Middle Name Last Name

United States Bankruptcy Court forthe: © DISTRICT OF MARYLAND

 

 

Case number
(if Known)

 

O Check if this is an
amended filing

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 12/15

 

If you are an individual filing under chapter 7, you must fill out this form if:
@ creditors have claims secured by your property, or

a you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must

 

sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a se

write your name and case number (if known).

GEREEME List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claim

information below.
identify the creditor and the property that is collateral

What do you intend to do with the property that
secures a debt?

 

parate sheet to this form. On the top of any additional pages,

's Secured by Property (Official Form 106D), fill in the

Did you claim the property
as exempt on Schedule C?

 

 

 

 

 

Creditor's CO Surrender the property. CM No
name: OO Retain the property and redeem it.

C1 Retain the property and enter into a 0 Yes
Description of Reaffirmation Agreement.
property CZ Retain the property and [explain]:
securing debt:
Creditor's: C1 Surrender the property. [No
name: C) Retain the property and redeem it.

CO Retain the property and enter into a O Yes
Description of Reaffirmation Agreement.
property CZ Retain the property and [explain]:
securing debt:
Creditor's C1 Surrender the property. CNo
name: C Retain the property and redeem it.

C1 Retain the property and enter into a . CO Yes
Description of Reaffirmation Agreement.
property CO Retain the property and [explain]:
securing debt:
Creditor's CO Surrender the property. CI No

Official Form 108

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Statement of Intention for Individuals Filing Under Chapter 7

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Best Case Bankruptcy

 
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Debtor1 REGINALD LEE, Ill Case number (if known)
name: CO Retain the property and redeem it. Yes
. C) Retain the property and enter into a
Description of Reaffirmation Agreement.
property 0 Retain the property and [explain]:

securing debt:

 

 

List Your Unexpired Personal Property |

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Will the lease be assumed?
Lessor's name: O No
Description of leased

Property: O Yes
Lessor's name: O No
Description of leased

Property: O Yes
Lessor's name: O No
Description of leased

Property: CO Yes
Lessor's name: O No
Description of leased

Property: 0 Yes
Lessor's name: O No
Description of leased

Property: O Yes
Lessor's name: O No
Description of leased

Property: O Yes
Lessor's name: O] No
Description of leased

Property: Cl Yes

EERE Sign Below

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

x (Qomenie LLskeS x
REGINALD LEE, lil ~ ~” Signature of Debtor 2
Signature of Debtor 1

 

Date December 1, 2018 Date

 

 

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